Case 2:15-ml-02668-PSG-SK Document 1294-5 Filed 04/19/24 Page 1 of 6 Page ID
                                #:50624




                   EXHIBIT 

  To the Declaration of Brian L.
            Stekloff
Case 2:15-ml-02668-PSG-SK Document 1294-5 Filed 04/19/24 Page 2 of 6 Page ID
                                #:50625

 From:            Tyler Finn
 To:              Jeremy Barber; Ian Gore; Rakesh Kilaru; Beth Wilkinson; Brian Stekloff; Anastasia Pastan; Max Warren; Ludwin,
                  Derek; Jenna Pavelec; Playforth, John; Caroline Li; Blake Neal; Roxana Guidero
 Cc:              Bill Carmody; Marc Seltzer; Seth Ard; Kalpana Srinivasan; Amanda Bonn; Howard Langer; Peter Leckman; Ned
                  Diver; Kevin Trainer; smartin; Sathya S. Gosselin; Farhad Mirzadeh; Rodney Polanco; Renee Thomas; Shawn
                  Rabin; Kim Ferrari; Krishna Patel; Bill Dunseth; Nic Gamiz
 Subject:         RE: Service of Proposed Jury Charge, Proposed Verdict Form, and Draft Joint Witness List
 Date:            Friday, January 19, 2024 12:01:18 PM
 Attachments:     2024-01-18 1147 Draft Joint Witness List - Plaintiffs.doc




 Hi Jeremy –

 We’ve accepted your proposed changes with one exception, as reflected in the attached redline.
 We will keep the “Live or By Deposition” designation for Brian Rolapp, because he was a an officer,
 director, and/or managing agent of the NFL when he was deposed. Pursuant to Rule 32(a)(3),
 Plaintiffs may therefore use his deposition at trial for any purpose.

 In addition, we have further clarified that we may call Sean McManus “Live or By Deposition,” as the
 NFL Defendants have not yet disclosed whether they will bring him as a live witness.

 For the avoidance of doubt, Plaintiffs reserve the right to call Hans Schroeder, Brent Lawton, Frank
 Hawkins, Paul Tagliabue, or any other NFL Defendant witness live should the NFL Defendants decide
 to bring such individuals as live witnesses at trial.

 Please let us know if we have your approval to file.

 Thanks,
 Tyler

 Tyler Finn
 Associate | Susman Godfrey LLP
 212.729.2016 (office) | 203.550.7358 (cell)
 tfinn@susmangodfrey.com

 From: Jeremy Barber <jbarber@wilkinsonstekloff.com>
 Sent: Friday, January 19, 2024 11:39
 To: Ian Gore <IGore@susmangodfrey.com>; Rakesh Kilaru <rkilaru@wilkinsonstekloff.com>; Beth
 Wilkinson <bwilkinson@wilkinsonstekloff.com>; Brian Stekloff <bstekloff@wilkinsonstekloff.com>;
 Anastasia Pastan <apastan@wilkinsonstekloff.com>; Max Warren
 <mwarren@wilkinsonstekloff.com>; Ludwin, Derek <dludwin@cov.com>; Jenna Pavelec
 <jpavelec@wilkinsonstekloff.com>; Playforth, John <jplayforth@cov.com>; Caroline Li
 <cli@wilkinsonstekloff.com>; Blake Neal <bneal@wilkinsonstekloff.com>; Roxana Guidero
 <rguidero@wilkinsonstekloff.com>
 Cc: Bill Carmody <bcarmody@SusmanGodfrey.com>; Marc Seltzer
 <MSeltzer@SusmanGodfrey.com>; Seth Ard <sard@susmangodfrey.com>; Kalpana Srinivasan
 <ksrinivasan@SusmanGodfrey.com>; Amanda Bonn <abonn@SusmanGodfrey.com>; Tyler Finn
 <TFinn@susmangodfrey.com>; Howard Langer <hlanger@langergrogan.com>; Peter Leckman
Case 2:15-ml-02668-PSG-SK Document 1294-5 Filed 04/19/24 Page 3 of 6 Page ID
                                #:50626

 <pleckman@langergrogan.com>; Ned Diver <ndiver@langergrogan.com>; Kevin Trainer
 <ktrainer@langergrogan.com>; smartin <smartin@hausfeld.com>; Sathya S. Gosselin
 <sgosselin@hausfeld.com>; Farhad Mirzadeh <fmirzadeh@hausfeld.com>; Rodney Polanco
 <RPolanco@susmangodfrey.com>; Renee Thomas <rthomas@susmangodfrey.com>; Shawn Rabin
 <srabin@SusmanGodfrey.com>; Kim Ferrari <kferrari@langergrogan.com>; Krishna Patel
 <kpatel@hausfeld.com>; Bill Dunseth <bdunseth@susmangodfrey.com>; Nic Gamiz
 <NGamiz@susmangodfrey.com>
 Subject: RE: Service of Proposed Jury Charge, Proposed Verdict Form, and Draft Joint Witness List

 EXTERNAL Email
 Ian,

 Thank you for the updated draft of the joint witness list. We have a few proposed edits tracked in
 the attached. As previously disclosed, the NFL Defendants are not bringing Hans Schroeder, Brent
 Lawton, Frank Hawkins, or Paul Tagliabue as live witnesses. As such, we believe it is appropriate to
 remove the “live” designation from Plaintiffs’ witness list for those witnesses as there is no basis for
 Plaintiffs to be able to call them live at trial. Relatedly, the NFL Defendants are bringing Brian Rolapp
 as a live witness, and suggest removing the “by deposition” designation for him on Plaintiffs’ witness
 list. We also made some formatting changes, which include changing the apostrophes to curly,
 adding floating headers, and changing the rows so they do not break over pages.

 Please provide an updated list consistent with the above and the edits in the attached for our review
 before tonight’s filing.

 Best,
 Jeremy



 From: Ian Gore <IGore@susmangodfrey.com>
 Sent: Friday, January 19, 2024 12:48 AM
 To: Jeremy Barber <jbarber@wilkinsonstekloff.com>; Rakesh Kilaru
 <rkilaru@wilkinsonstekloff.com>; Beth Wilkinson <bwilkinson@wilkinsonstekloff.com>; Brian
 Stekloff <bstekloff@wilkinsonstekloff.com>; Anastasia Pastan <apastan@wilkinsonstekloff.com>;
 Max Warren <mwarren@wilkinsonstekloff.com>; Ludwin, Derek <dludwin@cov.com>; Jenna
 Pavelec <jpavelec@wilkinsonstekloff.com>; Playforth, John <jplayforth@cov.com>; Caroline Li
 <cli@wilkinsonstekloff.com>; Blake Neal <bneal@wilkinsonstekloff.com>; Roxana Guidero
 <rguidero@wilkinsonstekloff.com>
 Cc: Bill Carmody <bcarmody@SusmanGodfrey.com>; Marc Seltzer
 <MSeltzer@SusmanGodfrey.com>; Seth Ard <sard@susmangodfrey.com>; Kalpana Srinivasan
 <ksrinivasan@SusmanGodfrey.com>; Amanda Bonn <abonn@SusmanGodfrey.com>; Tyler Finn
 <TFinn@susmangodfrey.com>; Howard Langer <hlanger@langergrogan.com>; Peter Leckman
 <pleckman@langergrogan.com>; Ned Diver <ndiver@langergrogan.com>; Kevin Trainer
 <ktrainer@langergrogan.com>; smartin <smartin@hausfeld.com>; Sathya S. Gosselin
 <sgosselin@hausfeld.com>; Farhad Mirzadeh <fmirzadeh@hausfeld.com>; Rodney Polanco
 <RPolanco@susmangodfrey.com>; Renee Thomas <rthomas@susmangodfrey.com>; Shawn Rabin
Case 2:15-ml-02668-PSG-SK Document 1294-5 Filed 04/19/24 Page 4 of 6 Page ID
                                #:50627

 <srabin@SusmanGodfrey.com>; Kim Ferrari <kferrari@langergrogan.com>; Krishna Patel
 <kpatel@hausfeld.com>; Bill Dunseth <bdunseth@susmangodfrey.com>; Nic Gamiz
 <NGamiz@susmangodfrey.com>
 Subject: RE: Service of Proposed Jury Charge, Proposed Verdict Form, and Draft Joint Witness List

 Jeremy – Please find an updated draft of the joint witness list attached. Please let us know if we may file this version. Regards,Ian From: Jeremy Barber <jbarber@wilkinsonstekloff.com> Sent: Thursday, January 18, 2024 6:43 PMTo: Ian Gore <IGore@susmangodfrey.com>; Ra




 Jeremy – Please find an updated draft of the joint witness list attached. Please let us know if we may
 file this version.

 Regards,
 Ian

 From: Jeremy Barber <jbarber@wilkinsonstekloff.com>
 Sent: Thursday, January 18, 2024 6:43 PM
 To: Ian Gore <IGore@susmangodfrey.com>; Rakesh Kilaru <rkilaru@wilkinsonstekloff.com>; Beth
 Wilkinson <bwilkinson@wilkinsonstekloff.com>; Brian Stekloff <bstekloff@wilkinsonstekloff.com>;
 Anastasia Pastan <apastan@wilkinsonstekloff.com>; Max Warren
 <mwarren@wilkinsonstekloff.com>; Ludwin, Derek <dludwin@cov.com>; Jenna Pavelec
 <jpavelec@wilkinsonstekloff.com>; Playforth, John <jplayforth@cov.com>; Caroline Li
 <cli@wilkinsonstekloff.com>; Blake Neal <bneal@wilkinsonstekloff.com>; Roxana Guidero
 <rguidero@wilkinsonstekloff.com>
 Cc: Bill Carmody <bcarmody@SusmanGodfrey.com>; Marc Seltzer
 <MSeltzer@SusmanGodfrey.com>; Seth Ard <sard@susmangodfrey.com>; Kalpana Srinivasan
 <ksrinivasan@SusmanGodfrey.com>; Amanda Bonn <abonn@SusmanGodfrey.com>; Tyler Finn
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 <pleckman@langergrogan.com>; Ned Diver <ndiver@langergrogan.com>; Kevin Trainer
 <ktrainer@langergrogan.com>; smartin <smartin@hausfeld.com>; Sathya S. Gosselin
 <sgosselin@hausfeld.com>; Farhad Mirzadeh <fmirzadeh@hausfeld.com>; Rodney Polanco
 <RPolanco@susmangodfrey.com>; Renee Thomas <rthomas@susmangodfrey.com>; Shawn Rabin
 <srabin@SusmanGodfrey.com>; Kim Ferrari <kferrari@langergrogan.com>; Krishna Patel
 <kpatel@hausfeld.com>; Bill Dunseth <bdunseth@susmangodfrey.com>; Nic Gamiz
 <NGamiz@susmangodfrey.com>
 Subject: RE: Service of Proposed Jury Charge, Proposed Verdict Form, and Draft Joint Witness List

 EXTERNAL Email
 Ian –

 Thank you for these materials. Focusing on the joint witness list, we have two immediate concerns.
 First, please add back in the information as to whether each witness will be presented by deposition
 or by live testimony. Local Rule 16-5 indicates that the witness list should contain “the information
 required by F.R.Civ.P. 26(a)(3)(A),” which in turn requires “the designation of those witnesses whose
 testimony the party expects to present by deposition.” Second, please reformat the joint witness list
 to comply with Local Rule 16-5, which indicates that there shall be an “asterisk . . . placed next to the
 names of those witnesses whom the party may only call if the need arises.”
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                                #:50628

 Please send us a revised version of the joint witness list consistent with the above for our review.
 We are happy to send you an exemplar if that would be helpful.

 Best,
 -Jeremy




 Jeremy Barber | Partner
 WILKINSON STEKLOFF LLP
 130 W 42nd Street, Floor 24, New York, NY 10036
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 jbarber@wilkinsonstekloff.com
 wilkinsonstekloff.com
 Pronouns: He/Him/His




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 disclosure or copying of this communication or any part thereof is strictly prohibited and may be
 unlawful. If you have received this communication in error, please notify us immediately by return
 email and destroy this communication and all copies thereof, including all attachments.
 From: Ian Gore <IGore@susmangodfrey.com>
 Sent: Thursday, January 18, 2024 8:00 PM
 To: Rakesh Kilaru <rkilaru@wilkinsonstekloff.com>; Beth Wilkinson
 <bwilkinson@wilkinsonstekloff.com>; Brian Stekloff <bstekloff@wilkinsonstekloff.com>; Anastasia
 Pastan <apastan@wilkinsonstekloff.com>; Jeremy Barber <jbarber@wilkinsonstekloff.com>; Max
 Warren <mwarren@wilkinsonstekloff.com>; Ludwin, Derek <dludwin@cov.com>; Jenna Pavelec
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 <cli@wilkinsonstekloff.com>; Blake Neal <bneal@wilkinsonstekloff.com>
 Cc: Bill Carmody <bcarmody@SusmanGodfrey.com>; Marc Seltzer
 <MSeltzer@SusmanGodfrey.com>; Seth Ard <sard@susmangodfrey.com>; Kalpana Srinivasan
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 <sgosselin@hausfeld.com>; Farhad Mirzadeh <fmirzadeh@hausfeld.com>; Rodney Polanco
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 <srabin@SusmanGodfrey.com>; Kim Ferrari <kferrari@langergrogan.com>; Krishna Patel
 <kpatel@hausfeld.com>; Bill Dunseth <bdunseth@susmangodfrey.com>; Nic Gamiz
 <NGamiz@susmangodfrey.com>
 Subject: Service of Proposed Jury Charge, Proposed Verdict Form, and Draft Joint Witness List
Case 2:15-ml-02668-PSG-SK Document 1294-5 Filed 04/19/24 Page 6 of 6 Page ID
                                #:50629

  Counsel, Please find attached a copy of Plaintiffs’ proposed jury charge and proposed special verdict form. Please also find attached a draft of the Joint Witness List. The defendants’ portion is based on the witness list we received from Jeremy last night. Note that




 Counsel,

 Please find attached a copy of Plaintiffs’ proposed jury charge and proposed special verdict form.

 Please also find attached a draft of the Joint Witness List. The defendants’ portion is based on the
 witness list we received from Jeremy last night. Note that we did some minor formatting changes,
 including: (a) remove the “format” column as the local rules and the judge’s civil trial order do not
 appear to require that information; (b) removing the word “approximately” as that’s implied by
 “estimate”; and (c) converting the times to decimal format for consistent formatting. Please let us
 know tomorrow morning Pacific time if we may file.

 Please also provide a copy of the joint exhibit list before the end of the day today so that it can be
 reviewed on our end.

 Plaintiffs reserve all rights to modify, amend, or supplement the proposed jury charge, verdict form,
 and their portion of the joint witness list.

 Ian

 Ian M. Gore | Partner
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 Seattle, WA 98101
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